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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


                                              :
DONALD IGO,                                   :
    Plaintiff                                 :
                                              :
V.                                            :              C. A. No.
                                              :
BMT, LLC d/b/a GAS LAMP GRILLE,               :
      Defendant                               :
                                              :


                      COMPLAINT AND DEMAND FOR JURY TRIAL

                                             PARTIES

     1. The plaintiff, Donald Igo (hereinafter “Igo”), is an individual who resides in Needham,
        Massachusetts.

     2. The defendant, BMT, LLC, is a Rhode Island limited liability corporation doing business
        as the Gas Lamp Grille (hereinafter “Grille”), a restaurant and tavern located at 206
        Thames Street, Newport, Rhode Island.

                                         JURISDICTION

     3. The Court has jurisdiction in this matter pursuant to the provisions of 28 USCS §1332(a).

                                              FACTS

     4. On or about February 22, 2018, the plaintiff, Igo, then 20 years old, was a patron of the
        defendant Grille and a “minor” as defined under RIGL §3-14-3(f).

     5. On or about February 22, 2018, the plaintiff Igo was a student at Salve Regina University
        and was a member of the varsity soccer team.

     6. On several occasions, the plaintiff Igo and other members of the Salve Regina University
        varsity soccer team had previously gone to the defendant Grille and been served
        intoxicating beverages without having to provide proof that they were of legal age to be
        served alcohol.
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                               COUNT I – DRAM SHOP ACT
                                    NEGLIGENCE

   7. The plaintiff Igo repeats, re-alleges and incorporates by reference, as though fully set
      forth herein, paragraphs 1 – 6 of the Complaint.

   8. The defendant Grille knew or should have known, both prior to and on February 22,
      2018, that the plaintiff Igo was a minor prohibited by law from being served intoxicating
      beverages.

   9. On February 22 and 23, 2018, the defendant Grille negligently sold the then-minor
      plaintiff Igo intoxicating beverages, in violation of RIGL §3-14-16.

   10. As the direct and proximate result of the defendant Grille selling these intoxicating
       beverages to the then-minor plaintiff Igo, he became intoxicated and was caused to suffer
       serious and permanent injuries to his head, arms, face, jaws and teeth on or about
       February 23, 2018.

   11. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has incurred
       extraordinary hospital and medical expenses, lost tuition, room and board expenses and
       lost wages.

   12. As a result of the accident occurring on February 23, 2018, the plaintiff Igo continues to
       suffer from debilitating injuries, which will require future medical treatment.

   13. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has suffered
       serious emotional distress and mental impairment which prevented him from completing
       his college studies and has adversely affected prospects for future employment.


  WHEREFORE, the plaintiff, Donald Igo, demands judgment against the defendant BMT,
LLC d/b/a Gas Lamp Grille, plus interest and costs as provided by haw.


                               COUNT II – DRAM SHOP ACT
                                    NEGLIGENCE

   14. The plaintiff Igo repeats, re-alleges and incorporates by reference, as though fully set
       forth herein, paragraphs 1 – 13 of the Complaint.
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   15. The defendant Grille knew, or should have known, prior to and on February 22, 2018,
       that the plaintiff Igo was a minor prohibited by law from being served intoxicating
       beverages.

   16. On February 22 and 23, 2018, the defendant Grille negligently sold the then-minor
       plaintiff Igo certain intoxicating beverages when he was visibly intoxicated, in violation
       of RIGL §3-14-16.

   17. As the direct and proximate result of said negligent sales made by the defendant Grille,
       the then-minor plaintiff Igo became even more greatly intoxicated and was caused to
       suffer serious and permanent injuries to his head, arms, face, jaws and teeth on February
       23, 2018.

   18. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has incurred
       extraordinary hospital and medical expenses, lost tuition, room and board expenses and
       lost wages.

   19. As a result of the accident occurring on February 23, 2018, the plaintiff Igo continues to
       suffer from debilitating injuries, which will require future medical treatment.

   20. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has suffered
       serious emotional distress and mental impairment which prevented him from completing
       his college studies and has adversely affected prospects for future employment.


  WHEREFORE, the plaintiff, Donald Igo, demands judgment against the defendant, BMT,
LLC d/b/a Gas Lamp Grille, plus interest and costs as provided by law.


                              COUNT III – DRAM SHOP ACT
                                 RECKLESS CONDUCT

   21. The plaintiff, Donald Igo, repeats, re-alleges and incorporates by reference, as though
       fully set forth herein, paragraphs 1 – 20 of the Complaint.

   22. The defendant Grille knew, or should have known, prior to and on February 22, 2018,
       that the plaintiff Igo was a minor prohibited by law from being served intoxicating
       beverages.

   23. On February 22 and 23, 2018, the defendant Grille recklessly sold the then-minor
       plaintiff Igo intoxicating beverages in violation of RIGL §3-14-7.
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   24. As the direct and proximate result of the defendant Grille making said reckless sales, the
       then-minor plaintiff Igo became intoxicated and was caused to suffer serious and
       permanent injuries to his head, arms, face, jaws and teeth on February 23, 2018.

   25. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has incurred
       extraordinary hospital and medical expenses, lost tuition, room and board expenses and
       lost wages.

   26. As a result of the accident occurring on February 23, 2018, the plaintiff Igo continues to
       suffer from debilitating injuries, which will require future medical treatment.

   27. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has suffered
       serious emotional distress and mental impairment which prevented him from completing
       his college studies and has adversely affected prospects for future employment.


   WHEREFORE, the plaintiff, Donald Igo, demands judgment against the defendant BMT,
LLC d/b/a Gas Lamp Grille, plus interest, costs, attorney’s fees and punitive damages as
provided by law.


                               COUNT IV – DRAM SHOP ACT
                                  RECKLESS CONDUCT

   28. The plaintiff, Igo, repeats, re-alleges and incorporates by reference, as though fully set
       forth herein, paragraphs 1 – 27 of the Complaint.

   29. The defendant Grille knew, or should have known, prior to and on February 22, 2018,
       that the plaintiff Igo was a minor prohibited by law from being served intoxicating
       beverages.

   30. On February 22 and 23, 2018, the defendant Grille recklessly sold the then-minor Igo
       plaintiff intoxicating beverages when he was visibly intoxicated, in violation of RIGL §3-
       14-7.

   31. As the direct and proximate result of the defendant Grille making said reckless sales, the
       then-minor plaintiff Igo became even more greatly intoxicated, and was caused to suffer
       serious and permanent injuries to his head, arms, face, jaws and teeth on February 23,
       2018.
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   32. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has incurred
       extraordinary hospital and medical expenses, lost tuition, room and board expenses and
       lost wages.

   33. As a result of the accident occurring on February 23, 2018, the plaintiff Igo continues to
       suffer from debilitating injuries, which will require future medical treatment.

   34. As a result of the accident occurring on February 23, 2018, the plaintiff Igo has suffered
       serious emotional distress and mental impairment which prevented him from completing
       his college studies and has adversely affects his prospects for future employment.


   WHEREFORE, the plaintiff, Donald Igo, demands judgment against the defendant, BMT,
LLC d/b/a Gas Lamp Grille, plus interest, costs, attorney’s fees and punitive damages as
provided by law.


                                DEMAND FOR JURY TRIAL

       The plaintiff, Donald Igo, demands a trial by jury on all issues.


                                                     DONALD IGO
                                                     By his Attorneys,

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